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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA


 In re:                              )
 Daily Gazette Company,              )
 Debtor.                             )                 Chapter 11
                                     )                 Case No. 18-20028
                                     )                 (Jointly Administered)
 ___________________________________ )

 In re:                              )
 Daily Gazette Holding Company, LLC, )
 Debtor.                             )                 Chapter 11
                                     )                 Case No. 18-20029
                                     )
 ___________________________________ )

 In re:                              )
 Charleston Newspapers Holdings, L.P.,
                                     )
 Debtor.                             )                 Chapter 11
                                     )                 Case No. 18-20030
                                     )
 ___________________________________ )

 In re:                              )
 Daily Gazette Publishing Company, LLC,
                                     )
 Debtor.                             )                 Chapter 11
                                     )                 Case No. 18-20032
                                     )
 ___________________________________ )

 In re:                              )
 Charleston Newspapers,              )
 Debtor.                             )                 Chapter 11
                                     )                 Case No. 18-20033
                                     )
 ___________________________________ )

 In re:                              )
 G-M Properties, Inc.,               )
 Debtor.                             )                 Chapter 11
                                     )                 Case No. 18-20034
                                     )
 ___________________________________ )
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                RESPONSE OF UNITED BANK IN SUPPORT OF DEBTORS’
                     MOTION TO DISMISS CHAPTER 11 CASES

        Comes now United Bank ("United") and does hereby file its Response in Support of

 Debtors’ Motion to Dismiss Chapter 11 Cases (the "Motion") and in support thereof states as

 follows:

        1.      United filed proofs of claim against each of the Debtors asserting a secured claim

 as of the Petition Date, in the amount of $16,505,381.73 (the "Secured Claim").

        2.      As a result of the sale of substantially all the assets of the Debtors for $11,487,243

 (the "Sale's Proceeds") to HD Media Company, LLC, which assets served as collateral for the

 Secured Claim, United received a distribution on or about March 30, 2018, in the amount of

 $9,799,360.99. United received an additional distribution on or about September 9, 2018, in the

 amount of $502,119.40, once the parties to the sale agreement completed their working capital

 adjustments.

        3.      United agreed to allocate from the Sale's Proceeds $1,345,818 (the "Hold Back")

 to satisfy all projected administrative expense claims allowed in the cases pursuant to a wind

 down budget (the "Budget") agreed to by the Debtors and United.

        4.      United presently has a claim in the approximate principal amount of

 $6,354,484.07 (the "Remaining Secured Claim") and is the only remaining secured creditor in

 these cases.

        5.      As a result of the Hold Back, the Debtors' have been able to wind-down their

 business and as reflected in the Motion and pursuant to the Budget to, among other things, satisfy

 all administrative expense claims, including trade debt and employee obligations. In addition, as

 contemplated in the Budget, sufficient funds exist to pay outstanding professional fees and fees
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 for the Office of the United States Trustee which, upon information and belief, are the last

 remaining administrative expense claims in these cases (the "Remaining Admin Claims").

           6.      To the extent any funds remain after payment of the Remaining Admin Claims,

 such funds are payable to United on the Remaining Secured Claim.

           7.      United agrees with the Debtors that there is no reason to pursue a plan of

 reorganization or liquidation and dismissal of these cases is appropriate. Upon payment of the

 Remaining Admin Claims, the Debtors will have a limited amount of cash and such remaining

 cash is subject to United's security interest. As the Debtors point out in the Motion, there is no

 longer a business to reorganize and once United receives the balance remaining from the Hold

 Back, no assets to distribute. Moreover, conversion of these cases to cases under chapter 7 of the

 Bankruptcy Code provides no benefit to creditors, but rather creates additional administrative

 costs without any funds to satisfy such costs.

           8.      United agrees that dismissal of these cases is in the best interests of the Debtors'

 creditors and estates and that keeping these cases in bankruptcy will serve no purpose. As long

 as the Debtors’ cases remain open, there will be a further decrease in what limited cash remains

 in the estates.

                   WHEREFORE, United Bank requests (i) that the Debtors’ Motion to Dismiss

 Chapter 11 Cases be granted, (ii) that prior to the dismissal orders becoming effective, the

 Debtors be authorized and directed to pay to United Bank any funds remaining after payment of

 the Remaining Admin Claims, and (iii) such other and further relief as the Court deems just and

 proper.
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                                             UNITED BANK

                                             By Spilman Thomas & Battle, PLLC

                                             /s/ James S. Crockett, Jr.
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                                CERTIFICATE OF SERVICE

        I, James S. Crockett, Jr., do hereby certify that on July 10, 2019, the foregoing Response

 of United Bank in Support of Debtors’ Motion to Dismiss Chapter 11 Cases was filed with

 the Court using the CM/ECF system which will send notification of such filing.


                                                      /s/ James S. Crockett, Jr.
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